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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )         4:08CR3095-1
                                              )
                   Plaintiff,                 )
                                              )
      vs.                                     )
                                              )         ORDER
JESUS MENDIBIL,                               )
                                              )
                   Defendant.                 )

      Based upon the prior representations of defense counsel,

      IT IS ORDERED that Defendant Mendibil’s case is removed from the undersigned’s
October 6, 2008 trial docket. Defense counsel shall contact Magistrate Judge Piester’s
chambers at his earliest convenience to schedule this case for a plea hearing.

      October 3, 2008.             BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
